USCA11 Case: 23-12958   Document: 70-1   Date Filed: 10/24/2023   Page: 1 of 11



                            No. 23-12958
                ____________________________________

               UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT
               _____________________________________

                           The State of Georgia,
                            Plaintiff-Appellee,

                                    v.

                          Mark R. Meadows,
                         Defendant-Appellant.
              _______________________________________

              On Appeal from the United States District Court
                   for the Northern District of Georgia,
                       Case No. 1:23-cv-03621-SCJ
              _______________________________________

    APPELLEE’S MOTION TO FILE DOCUMENTS OUT OF TIME
           OR OTHERWISE REMEDY THE DEFAULT
           _______________________________________



     FANI T. WILLIS                           F. MCDONALD WAKEFORD
     District Attorney                          Chief Senior Assistant
     Atlanta Judicial Circuit                   Assistant District Attorney
     136 Pryor Street SW
     Atlanta, Georgia 30303                   ANNA GREEN CROSS
     404-612-4981                              Special Prosecutor
     Fani.WillisDA@fultoncountyga.gov
USCA11 Case: 23-12958        Document: 70-1      Date Filed: 10/24/2023     Page: 2 of 11



                                  Case No. 23-12958

    CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                 DISCLOSURE STATEMENT

      To the best of Appellee’s knowledge, no associations of persons,

partnerships, or corporations have an interest in the outcome of this case or appeal,

including subsidiaries, conglomerates, affiliates, parent corporations, or any

publicly held corporation that owns 10% or more of the party’s stock. The

following is a list, in alphabetical order, of all trial judges, attorneys, law firms, and

persons with such an interest. Appellee, like Appellant, has included the parties,

their attorneys, and their attorneys’ firms, as well as the other defendants in this

criminal case and their attorneys.

      1. Alksne, Cynthia, amicus in District Court

      2. Anulewicz, Christopher Scott, attorney for Robert David Cheeley

      3. Arora, Manubir, attorney for Kenneth John Chesebro

      4. Aul, Francis, attorney for Mark R. Meadows

      5. Ayer, Donald B., amicus

      6. Barron, Lynsey M., attorney for Scott Graham Hall

      7. Beckermann, Wayne R., attorney for Robert David Cheeley

      8. Bernick, Alex, Fulton County District Attorney’s Office

      9. Bever, Thomas Dean, attorney for Shawn Micah Tresher Still

      10. Bittman, Robert, attorney for Mark R. Meadows

                                     Page C-1 of 6
USCA11 Case: 23-12958     Document: 70-1    Date Filed: 10/24/2023   Page: 3 of 11



                            Case No. 23-12958
     11. Bondurant Mixson & Elmore LLP

     12. Carr, Christopher M., Attorney General of the State of Georgia

     13. Cheeley, Robert David, Defendant in Georgia v. Trump

     14. Chemerinsky, Erwin, amicus

     15. Chesebro, Kenneth John, Defendant in Georgia v. Trump

     16. Childress, Marcus, attorney for amici

     17. Christenson, David Andrew, pro se, denied intervention below

     18. Clark, Jeffrey Bossert, Defendant in Georgia v. Trump

     19. Cohen, Darryl B., attorney for Trevian C. Kutti

     20. Copeland, Amy, amicus below

     21. Cromwell, William Grant, attorney for Cathleen Alston Latham

     22. Cross, Anna Green, Fulton County District Attorney’s Office

     23. Cross Kincaid LLC

     24. Durham, James D., attorney for Mark R. Meadows in Georgia v. Trump

     25. Eastman, John Charles, Defendant in Georgia v. Trump

     26. Ellis, Jenna Lynn, Defendant in Georgia v. Trump

     27. Englert, Joseph Matthew, attorney for Mark R. Meadows

     28. Farmer, John J. Jr., amicus

     29. Floyd, Harrison William Prescott, Defendant in Georgia v. Trump




                                 Page C-2 of 6
USCA11 Case: 23-12958    Document: 70-1     Date Filed: 10/24/2023    Page: 4 of 11



                               Case No. 23-12958
     30. Floyd, John Earl, Fulton County District Attorney’s Office

     31. Francisco, Michael Lee, attorney for Mark R. Meadows

     32. Fried, Charles A., amicus

     33. Frosh, Brian, amicus

     34. Fulton County District Attorney’s Office

     35. Gerson, Stuart M., amicus

     36. Gillen, Craig A., attorney for David James Shafer

     37. Giuliani, Rudolph William Louis, Defendant in Georgia v. Trump

     38. Graber, Mark A., amicus

     39. Griffin Durham Tanner & Clarkson LLC

     40. Grohovsky, Julie, amicus below

     41. Grubman, Scott R., attorney for Kenneth John Chesebro

     42. Hall, Scott Graham, Defendant in Georgia v. Trump

     43. Hampton, Misty (a/k/a Emily Misty Hayes), Defendant in Georgia v.

     Trump

     44. Harding, Todd A., attorney for Harrison William Prescott Floyd

     45. Hogue, Franklin James, attorney for Jenna Lynn Ellis

     46. Hogue, Laura Diane, attorney for Jenna Lynn Ellis

     47. Jenner & Block, LLP




                                 Page C-3 of 6
USCA11 Case: 23-12958     Document: 70-1     Date Filed: 10/24/2023   Page: 5 of 11



                               Case No. 23-12958
     48. Jones, Steve C., U.S. District Court Judge for the Northern District of

     Georgia

     49. Kallen, Michelle S., attorney for amici

     50. Kammer, Brian S., attorney for amici below

     51. Kelley, Emily E., attorney for Mark R. Meadows

     52. Kutti, Trevian C., Defendant in Georgia v. Trump

     53. Lake, Anthony C., attorney for David James Shafer

     54. Latham, Cathleen Alston, Defendant in Georgia v. Trump

     55. Lee, Stephen Cliffgard, Defendant in Georgia v. Trump

     56. Little, Jennifer L., attorney for Donald J. Trump

     57. Luttig, J. Michael, amicus

     58. MacDougald, Harry W., attorney for Jeffrey Bossert Clark

     59. Marshall, Mary E., attorney for amici

     60. McAfee, Scott, Fulton County Superior Court Judge

     61. McFerren, William Coleman, attorney for Shawn Micah Tresher Still

     62. McGuireWoods, LLP

     63. Meyer, Joseph Michael, attorney for amici

     64. Miller, Tom, amicus

     65. Moran, John S., attorney for Mark R. Meadows




                                  Page C-4 of 6
USCA11 Case: 23-12958     Document: 70-1    Date Filed: 10/24/2023   Page: 6 of 11



                            Case No. 23-12958
     66. Morgan, John Thomas III, attorney for amici

     67. Morris, Bruce H., attorney for Ray Stallings Smith, III

     68. Ney, Adam, Fulton County District Attorney’s Office

     69. Novay, Kristen Wright, attorney for Ray Stallings Smith, III

     70. Palmer, Amanda, attorney for Ray Stallings Smith, III

     71. Parker, Wilmer, attorney for John Charles Eastman

     72. Pierson, Holly Anne, attorney for David James Shafer

     73. Powell, Sidney Katherine, Defendant in Georgia v. Trump

     74. Rafferty, Brian T., attorney for Sidney Katherine Powell

     75. Ragas, Arnold M., attorney for Harrison William Prescott Floyd

     76. Ratakonda, Maithreyi, attorney for amici

     77. Raul, Alan Charles, amicus

     78. Rice, Richard A., Jr., attorney for Robert David Cheeley

     79. Roman, Michael A., Defendant in Georgia v. Trump

     80. Rood, Grant H., Fulton County District Attorney’s Office

     81. Sadow, Steven H., attorney for Donald J. Trump

     82. Saldana, Sarah R., amicus below

     83. Samuel, Donald Franklin, attorney for Ray Stallings Smith, III

     84. Shafer, David James, Defendant in Georgia v. Trump




                                 Page C-5 of 6
USCA11 Case: 23-12958     Document: 70-1    Date Filed: 10/24/2023   Page: 7 of 11



                              Case No. 23-12958
     85. Shane, Peter M., amicus

     86. Smith, Ray Stallings, III, Defendant in Georgia v. Trump

     87. Still, Shawn Micah Tresher, Defendant in Georgia v. Trump

     88. Terwilliger, George J., III, attorney for Mark R. Meadows

     89. Trump, Donald J., Defendant in Georgia v. Trump

     90. Twardy, Stanley A. Jr., amicus below

     91. Volchok, Daniel, attorney for amici

     92. Wade, Nathan J., Fulton County District Attorney’s Office

     93. Wade & Campbell Firm

     94. Wakeford, Francis McDonald IV, Fulton County District Attorney’s

     Office

     95. Waxman, Seth P., attorney for amici

     96. Weld, William F., amicus

     97. Wertheimer, Fred, attorney for amici

     98. Williams, Jonathan L., attorney for amici

     99. Willis, Fani T., Fulton County District Attorney’s Office

     100. Wilmer Cutler Pickering Hale and Dorr LLP

     101. Wooten, John William, Fulton County District Attorney’s Office

     102. Wu, Shan, amicus below

     103. Young, Daysha D’Anya, Fulton County District Attorney’s Office

                                 Page C-6 of 6
USCA11 Case: 23-12958       Document: 70-1     Date Filed: 10/24/2023    Page: 8 of 11



   MOTION TO FILE DOCUMENTS OUT OF TIME OR OTHERWISE
                   REMEDY THE DEFAULT
      The State of Georgia respectfully requests permission to file a standalone

Certificate of Interested Persons and Corporate Disclosure Statement. This follows

the filing of a Notice of Deficiency on October 11, 2023, instructing the State to file

said standalone CIP, complete the web-based CIP, and file a motion to remedy the

defaults.

      In both its Response to Appellant’s (subsequently withdrawn) Emergency

Motion for a Stay Pending Appeal and its Brief of Appellee, the State filed a

certification that the CIP provided by Appellant appeared complete, as authorized

under Eleventh Circuit Rule 26.1-2(b) and (c). The State’s only additions to the list

of persons within Appellant’s CIP (Alex Bernick, Maithreyi Ratakonda, and

Jonathan L. Williams) are attorneys who have filed Notices of Appearance in this

case. Thus, because the information contained in the standalone CIP filed today was

included in filings made by the Appellant, Appellee, and others, neither the Court

nor the other parties were prejudiced by the State’s delay in filing the CIP. Counsel

for the State has also completed the web-based CIP as of today, October 24, 2023.

      For these reasons, and for the reasons provided in Appellant’s own

subsequently-granted Motion to File Out of Time, the State of Georgia submits there

is good cause for the Court to grant leave to file its standalone CIP out of time or

otherwise remedy the default.


                                          1
USCA11 Case: 23-12958    Document: 70-1    Date Filed: 10/24/2023   Page: 9 of 11




     Respectfully submitted this 24th day of October, 2023.

                                    By: s/ F. McDonald Wakeford
                                    F. MCDONALD WAKEFORD
                                    Chief Senior Assistant District Attorney
                                    Atlanta Judicial Circuit
                                    136 Pryor Street SW, Third Floor
                                    Atlanta, Georgia 30303
                                    404-612-4981
                                    fmcdonald.wakeford@fultoncountyga.gov




                                       2
USCA11 Case: 23-12958    Document: 70-1    Date Filed: 10/24/2023   Page: 10 of 11



                    CERTIFICATE OF COMPLIANCE

This motion complies with the type-volume limit of Federal Rule of Appellate

Procedure 27(d) and Eleventh Circuit Rule 27-1 because this document contains

239 words and uses a Times New Roman 14-point font.

     This 24th day of October 2023.

                        s/ F. McDonald Wakeford
                        F. McDonald Wakeford




                                       3
USCA11 Case: 23-12958    Document: 70-1      Date Filed: 10/24/2023   Page: 11 of 11



                        CERTIFICATE OF SERVICE

         I hereby certify the foregoing was served upon the following by the
     CM/ECF electronic filing system because all are registered CM/ECF users:


     George J. Terwilliger, III
     John S. Moran
     Michael J. Francisco
     Francis J. Aul
     McGuire Woods LLP
     888 16th Street NW, Suite 500
     Washington, DC 20006
     (202) 857-2473
     gterwilliger@mcguirewoods.com

     Dated this 24th day of October, 2023.


                        s/ F. McDonald Wakeford
                        F. McDonald Wakeford




                                       4
